                     Case
                     Case 1:23-cv-00381-JL-TSM
                          1:23-cv-00381-JL-TSM Document
                                               Document 4-4
                                                        3
                                                              Filed08/15/23
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 Civil Action No. 1:23-cv-00381-JL-TSM

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

           This summons for (name of individual and title. if any)              War k             ret Ly
 was received by me on (date)               W-1G-3Q

           © I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or


          A left the
                I          summons at the individual’s residence or usual place of abode with (name)                   Wt DAL Cod
             Boar              WRecaeraBr                           ,   a person of suitable age and discretion who resides there,

           on (date)      S-\GQ-~AZ                ,   and mailed a copy to the individual’s last known address; or

           © I served the summons on (name of individual)                                                                         ,   who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                            ; or


           OC   I returned the summons unexecuted because                                                                               ; OF


           O Other (specify:




           My fees are $                           for travel and $                       for services, for a total of $


           I declare under penalty       of perjury that this information is true.


 Dates      S-\7-}3                                                     oor. b ays                Server's signatutp


                                                                           DRAWN Dre Ooy\e
                                                                                              Printed name and title




                                                                                                  Server's address

 Additional information regarding attempted service, etc:
                  Case
                  Case 1:23-cv-00381-JL-TSM
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District of New Hampshire


                        Dana Albrecht

                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                v,                                         Civil Action No. 1:23-cv-00381-JL-TSM
                Kathleen Sternenberg et al.

                                                                   )
                                                                   )
                          Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Mark S. Derby
                                   Administrative Office of the Courts
                                   1 Granite Place, Ste. N400

                                   Concord, NH 03301




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                        —




are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      —




the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:                Dana Albrecht
                                           131 Daniel Webster Hwy #235
                                           Nashua, NH 03060




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:      8/15/2023

   with ECF Notice attached.
     Case 1:23-cv-00381-JL-TSM Document 4-4
                                        3-1 Filed 08/26/23
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                                                                1 of 3
                                                                     1




                             U.S. DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


                               IMPORTANT NOTICE

              ATTORNEYS REQUIRED TO FILE ELECTRONICALLY


     Unless specifically exempted, all documents submitted by members of the bar of
     this district, as well by attorneys admitted pro hac vice, shall be filed in
     accordance with the district's Administrative Procedures for Electronic Case
     Filing (“ECF”). For attorneys, that means that while some limited documents will
     still be filed in paper format, the vast majority of all future pleadings must be
     submitted electronically using the court’s Electronic Case Filing (ECF) system
     (including cases involving pro se parties). Pro se litigants, however, are not
     required to file electronically and may continue to file documents in paper format.

     The District of New Hampshire is a NextGen CM/ECF court, which means
     attorneys use their individual PACER accounts to file documents in this district
     Section 6.1 of the Administrative Procedures for ECF requires that attorneys
     appearing in an ECF case must request access to the court’s ECF system
     through PACER. However, attorneys who filed in this district prior to November
     12, 2019 must instead link their individual PACER account with their legacy ECF
     account.

     For more information on NextGen CM/ECF visit the court’s website.

     NOTICE TO PLAINTIFF: You are instructed to serve a copy of this notice on
     all parties in this case along with the complaint.


                                              DANIEL J. LYNCH
                                              Clerk




USDCNH-91 (Rev. 12-19)
